DOCUMENTS UNDER SEAL
                      Case 5:20-cr-00282-BLF Clear
                                              Document
                                                   Form 8 Filed 07/02/20 Page 1 of
                                                              TOTAL TIME (m ins):
                                                                                     1
                                                                                  11 mins
M AGISTRATE JUDGE                         DEPUTY CLERK                               REPORTER/FTR
M INUTE ORDER                            Lili Harrell                               Zoom recording 11:22am - 11:31am
MAGISTRATE JUDGE                          DATE                                       NEW CASE          CASE NUMBER
Nathanael Cousins                        July 2, 2020                                                  5:20-mj-70560 MAG
                                                      APPEARANCES
DEFENDANT                                 AGE       CUST  P/NP   ATTORNEY FOR DEFENDANT                     PD.     RET.
Gabriel Sanchez                                     Y         P       Dejan Gantar for Severa Keith         APPT.
U.S. ATTORNEY                             INTERPRETER                              FIN. AFFT              COUNSEL APPT'D
Jeffrey Backhus                                                                    SUBMITTED

PROBATION OFFICER           PRETRIAL SERVICES OFFICER                 DEF ELIGIBLE FOR                PARTIAL PAYMENT
                            Josh Libby                                APPT'D COUNSEL                  OF CJA FEES
                                      PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR            PRELIM HRG       MOTION           JUGM'T & SENTG                              STATUS
                                                                                                               TRIAL SET
       I.D. COUNSEL              ARRAIGNMENT                BOND HEARING            IA REV PROB. or            OTHER
                                                                                    or S/R
       DETENTION HRG             ID / REMOV HRG             CHANGE PLEA             PROB. REVOC.               ATTY APPT
       11 mins                                                                                                 HEARING
                                                        INITIAL APPEARANCE
        ADVISED                 ADVISED                     NAME AS CHARGED           TRUE NAME:
        OF RIGHTS               OF CHARGES                  IS TRUE NAME
                                                          ARRAIGNM ENT
       ARRAIGNED ON               ARRAIGNED ON                READING W AIVED             W AIVER OF INDICTMENT FILED
       INFORMATION                INDICTMENT                  SUBSTANCE
                                                            RELEASE
      RELEASED           ISSUED                         AMT OF SECURITY      SPECIAL NOTES                PASSPORT
      ON O/R             APPEARANCE BOND                $                                                 SURRENDERED
                                                                                                          DATE:
PROPERTY TO BE POSTED                          CORPORATE SECURITY                       REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                DETAINED            RELEASED       DETENTION HEARING              REMANDED
      FOR             SERVICES                                                   AND FORMAL FINDINGS            TO CUSTODY
      DETENTION       REPORT                                                     W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                              PLEA
    CONSENT                    NOT GUILTY                    GUILTY                  GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                CHANGE OF PLEA                PLEA AGREEMENT          OTHER:
    REPORT ORDERED                                           FILED
                                                          CONTINUANCE
TO:                              ATTY APPT                   BOND                  STATUS RE:
7/9/2020                         HEARING                     HEARING               CONSENT                   TRIAL SET

AT:                              SUBMIT FINAN.               PRELIMINARY           CHANGE OF                 STATUS
                                 AFFIDAVIT                   HEARING               PLEA
10:30am                                                      _____________
BEFORE HON.                      DETENTION                   ARRAIGNMENT            MOTIONS                  JUDGMENT &
                                 HEARING                                                                     SENTENCING
Cousins
       TIME W AIVED              TIME EXCLUDABLE             IDENTITY /            PRETRIAL                  PROB/SUP REV.
                                 UNDER 18 § USC              REMOVAL               CONFERENCE                HEARING
                                 3161                        HEARING
                                                ADDITIONAL PROCEEDINGS
Parties consent to video appearance. Court follows recommendation of Pretrial Services and defendant is detained.
Written finding waived.

                                                                                         DOCUMENT NUMBER:
